Case 5:23-mc-00001-LGW-BWC Document 32-1 Filed 12/06/23 Page 1 of 4

EXHIBIT A

(Declaration of Benjamin Perkins)
Case 5:23-mc-00001-LGW-BWC Document 32-1 Filed 12/06/23 Page 2 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

WAYCROSS DIVISION
COALITION FOR GOOD )
GOVERNANCE and DONNA )
CURLING, )
) Civil Action No. 5:23-mc-00001-LGW-BWC
Plaintiffs, )
) In RE Subpoenas issued by the United States
V. ) District Court For the Northern District of
) Georgia, Atlanta Division, Civil Action No.
COFFEE COUNTY BOARD OF ) 1:17-CV-2989-AT
ELECTIONS AND REGISTRATION, )
)
Defendant. )

DECLARATION OF BENJAMIN M. PERKINS

I, Benjamin M. Perkins, hereby provide the following declaration pursuant to
28 U.S.C.A. § 1746:

1.

My name is Benjamin M. Perkins. I am over the age of 18 years and am otherwise
competent in all respects to testify regarding the matters set forth herein. I have personal
knowledge of the facts stated herein through my representation of the Coffee County Board of
Elections and Registration (the “CCBOE”) in the above captioned matter.

Dr

I have engaged in efforts to ascertain the current location of a silver laptop depicted in

CCBOE video recordings that were recorded on or about February 22, 2021 (the “Silver Laptop”).
3.
In November 2023, I contacted current CCBOE members, including Andy Thomas,

Matthew McCullough, Paula Scott, Ernestine Thomas-Clark, and Ron Tanner, and requested
Case 5:23-mc-00001-LGW-BWC Document 32-1 Filed 12/06/23 Page 3 of 4

information on the ownership and current whereabouts of the Silver Laptop.
4.

In November 2023, I contacted current Coffee County attorneys Anthony Rowell and
Jennifer Herzog and current Coffee County Elections Supervisor Debra “Christy” Nipper and
requested information on the ownership and current location of the Silver Laptop.

»

In November 2023, CCBOE information technology contractors Charles Dial and Brad
Herrin were contacted and requested to provide information on the ownership and current
whereabouts of the Silver Laptop.

6.

In November 2023, Coffee County employees Wesley Vickers and Tracie Vickers were
contacted and requested to provide information on the ownership and current whereabouts of the
Silver Laptop.

7.

In November 2023, I contacted former CCBOE member Wendell Stone and requested

information on the ownership and current whereabouts of the Silver Laptop.

8.

In November 2023, I contacted Jonathan Miller, who serves as legal counsel for Misty
Hampton, and requested information on the ownership and current whereabouts of the Silver
Laptop.

9.

In November 2023, I contacted Philip Curtis, who serves as the managing attorney for the

Georgia Bureau of Investigation, and requested information on the current whereabouts of the

Silver Laptop.

bo
Case 5:23-mc-00001-LGW-BWC Document 32-1 Filed 12/06/23 Page 4 of 4

10.

In November 2023, Coffee County was asked to search its work order technology logs and
inventory for the Silver Laptop.

11.

On November 20, 2023, I requested that Anthony Rowell, Charles Dial, and Wesley
Vickers provide declarations as to their knowledge of the ownership and current location of the
Silver Laptop.

12.

Despite each of these actions, I have been unable to locate the laptop or determine its

current custodian.
13.
Pursuant to 28 U.S.C.A. § 1746, I declare under penalty of perjury that the foregoing is

true and correct.

Executed on December 6, 2023. \s He

Benjamin M. Perkins
Attorney for Coffee County Board of
Elections and Registration

